Case 2:22-cv-03595 Document 1-1 Filed 05/25/22 Page 1 of 24 Page ID #:14




                  EXHIBIT "A"
             Case 2:22-cv-03595 Document 1-1 Filed 05/25/22 Page 2 of 24 Page ID #:15




                                                                                                                     null / PERINJ
                                                                                                     Transmittal Number: 24858717
Notice of Service of Process                                                                            Date Processed: 05/03/2022

Primary Contact:           Nicole Russ
                           Delta Air Lines, Inc
                           1030 Delta Blvd
                           Dept 982
                           Atlanta, GA 30354-1989

Electronic copy provided to:                   Melba Prevost
                                               Alexander Rowedder

Entity:                                       Delta Air Lines, Inc.
                                              Entity ID Number 2078129
Entity Served:                                Delta Air Lines
Title of Action:                              Gerald Castaneda vs. Delta Air Lines
Matter Name/ID:                               Gerald Castaneda vs. Delta Air Lines (12250811)
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Personal Injury
Court/Agency:                                 Los Angeles County Superior Court, CA
Case/Reference No:                            21STCV46557
Jurisdiction Served:                          California
Date Served on CSC:                           05/02/2022
Answer or Appearance Due:                     30 Days
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           Dixon & Daley, LLP
                                              562-946-3737
Notes:       Plaintiff was injured due to the fuel dump.

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
                    Case 2:22-cv-03595 Document 1-1 Filed 05/25/22 Page 3 of 24 Page ID #:16
Eiedronlcally FILED by Superior Court of Califomla, County of Los Angeles on 12121~85v{afi PMSherrl R. Carter, Executive Officer/Clerk of Coun, by N. Mlramonles,Deputy Clerk

                                                                                                                                     FOR COURT USE OMLY
                                                  SUMMONS                                                                        (SOLO PA/2A 11S0 DE LA CORTEJ
                                            (ClTAC10N JUDICIAL)
       NOTICE TO DEFENDANT:
       (AV1SO AL DEMAl1fDAD0):
        DELTA AIR LINES; DOES I through XX inclusive; DOE Companies :
        tilrough Y.X, inc usive; and DOE Corporadons I through XX, inclusive,

       YOU ARE BEING SUED BY PLAINTIFF:
       (LO ESTA DEMAIYDAfVDO EL DEMAIVDAMTE):
        GERALD CASTANEDA,


         NOTICEI You have been sued. The court may decide against you without your                   you respond within 30 days. Read the information
         below.
           You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
         served on the plaintiff. A letter or phone call will not protect you. Your wr'Itten response must be in proper legal form if you want the court to hear your
         case. There may be a court form that you can use for your response. You can find these court forms and more information at the Califomia Courts
         Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
         the court clerk for a fee walver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
         may be taken without further waming from the court.
            There are other legal requirements. You may want to call an attomey right away. If you do not know an attomey, you may want to call an attomey
         referral service. If you cannot afford an attomey, you may be eligible for free legal servioes from a nonprofil legal services program. You can locate
         these nonprofit groups at the Califomia Legal Servicea Web site (www.lawhelpcalifomla.org), the California Courts Online Self-Help Center
         (www.courtlnfo.ca.gov/selfhelp), or by contacting your Iocal court or county bar associafion. NOTE: The court has a statutory lien for waived fees and
         costs on any settlement or arbitrafion award of $10,000 or more in a civil case. The oourYs lien must be paid before the court will dismiss the case.
         IA VlSOt Lo han demandado. Si no responde dentro de 30 dias, ta corte puede decidfr en su contra sfn escuchar su versi6n. Lea ta informacf6n a
         continuaci3n.
            Trene 30 D/AS DE CALENDARIO despuds de que le entreguen esta citacl6n y papeles legales para presentar una respuesta por escrito en esta
         corte y hacer que se entregue una copla al demandante. Una carta o una llamada telef6nfca no lo protegen. Su respuesta por escrito tlene que estar
         en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un fomrularfo que usted pueda usar para su respuesta.
         Puede enconfrar estos formularios de la corte y m6s intormacldn en el Centro de Ayuda de tas Cortes de Callfornia (www.sucorte.ca.gov), en la
         biblioteca de leyes de su condado o en la corte que le quede mbs cerca. Si no puede pagarla cuota de presentaclbn, plda al secretario de la coite
         que le drs un formulario de exencldn de pago de cuotas. Sl no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le
         podra quitar su sueldo, dinero y blenes sln m3s advertencia.
           !-lay otros requisitos legales. Es recomendable que llame a un abogado inmediatamente. Sl no conoce a un abogado, puede llamar a un servicio de
         remisidn a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legales gratuitos de un
         programa de servicios legales sin fines de lucro. Puede encontrar eslos grupos sin fines de lucro en el sitio web de Califomfa Legal Services,
         (www.lawhelpcalifomia.org), en el Centro de Ayuda de las Cortes de Catifomfa, (www.sucorte.ca.gov) o ponidndose en confacto cron ta corte o el
         colegio de abogados locales. AV1S0: Porley, la corte tiene derecho a reclamar las cuotas y los costos exentos por lmponer un gravamen sobre
         cualquier recuperacibn de $10,000 8 mbs de vafor recibida mediante un acuerdo o una concesibn de arbitraje en un caso de derecho civil. Tfene que
         pagar el gravamen de la corte antes de que la corte pueda desechar el caso.
        The name and address of the court is: Los Angeles Superior COurt                                              CAS
                                                                                                                      ( eoud BCR o):
        (El nombre y direcci6n de la corte es):
          111 North Hill Street                                                                                        21 !BT (:'V 4 6:55 7
          Los Angeles, CA 90012
        The name, address, and telephone number of plaintiff's aftomey, or plaintiff without an attomey, is:
        (Et nombre, la direccibn y el numero de tetr3fono det abogado del demandante, o def demandante que no tiene abogado, es):
         Kaitlyn Daley Corbett, Esq. (SBN 305223) Dixon Daley, LLP
         10330 Pioneer Blvd., Suite 210, Santa Fe Springs, CA 90670 (562) 946-3737
        DATE:                                          9herriR.CaderExecutlreOHcerICle,kofCaurt C' le~r b y                                                        , Deputy
        (Facha) 1 ~2~12a2~                                                                     (Secretario)               N. Miramontes                             (Adjunto)
        (For proof of service of this summons, use Proof of Service of Summons (forrn POS-0i0).)
        (Para prueba de entrega de esta cihati6n use el formutario Proof of Service of Summons, (POS-010)).
                                                NOTICE TO THE PERSON SERVED: You are served
                                                1.          as an individual defendant.
                                                2. 0        as the person sued under the fictitious name of (specify):


                                                3,   x0 on behalf of (specify): DELTA AIR LINES
                                                     under: ®           CCP 416.10 (corporation)                ~               CCP 416.60 (minor)
                                                               0        CCP 416.20 (defunct corporation)        ~               CCP 416.70 (conservatee)
                                                               0        CCP 416.40 (association or partnership) 0               CCP 416.90 (authorized person)

                                                              []     other (specify):
                                                4. 0         by personal delivery on (date):

          Farm Adopted for Pdandatory Use                                              SUMMONS                                               Code of CIvt1 Procedure §§ 41220, 465
            Judidal Cnuncil ot Callfomia                                                                                                                     wvnv.courL'n ro.w.gov
            SUM-100 IRev. July 1, 20091
                            Case 2:22-cv-03595            Document
                                 —.• ". "•'^1-1..a, -1ily Vi -
                                                                           1-1 Filed 05/25/22 Page 4 of 24 Page ID #:17
                                                               —yOiao Vli 14/4 1/LUG I UO.Uo rlVl oI1C111 K. Gar[er, t_xecutrve urricerrulerK ot Gourt, by N. Mlramon
CICU[I Uf   -^l .•""— ",
                                                                                                                                                 FOR COURT USE ONLY
             ATrORNEY OR PARTY WITHOUT ATTORNEY (Name, State 8ar number, and address):
            -Kaitlyn Daley Corbett, Esq. SBN 305223
            DIXON & DALEY, LLP
            ] 0330 Pioneer Bh/d,., Suite 210
            Santa Fe Springs CA 90670
                       TELEPHONENO,: (562,) 946-3737                           FAXNO.: ( 562.) f1
                                                                                               746-3779
             ATTORNEY FOR (Name): Oialntlff, Ciel'ald Castalle(la
            SUPERIOR COURT OF CALIFORNIA, COUNTY OF                Los Angeles
                    STREETADDRESS: 111 N(1rt1] H111 Street
                    MAILING ADDRESS: San'te
               CITY AND zIP CODE: Los AnQeles, CA 90012
                   r3RANCH NAME: zmanicy ivloslc
              CASE NAME: Gerald Castaneda v. Delta Air Lines, et al.

                                                                                                                                CASE NUMBER:
                    CIVIL CASE COVER SHEET                                         Complex Case Designation
                                   [] Limited                                                                                            2'1 ST GV ~- 6 55 7
             ®       Unlimited                                                      Counter         0       Joinder
                                                                               ~
                     (Amount          (Amount                                                                  JUDGE:
                     demanded         demanded is             Filed with first appearance by defendant
                                                                  (Cal. Rules of Court, ruie 3.402)             DEPT:
                     exceeds $25,000) $25,000 or less)
                                             (rems 7—b aetow musr oe comp)ereo (see       rnsrructuons on page   z).

            1. Check one box beiow for the case type that best describes this case:
                                                            Contract                                   Provisionally Complex Civil Litigation
               Auto Tort
                                                            0      Breach  of contracUwar  ranty (06)  (Cal. Rules of Court, rules 3.400-3.403)
                     Auto (22)
                  ~  Uninsured motorist (46)                       Rule 3.740 collections (09)
                                                                   Other collections (09)
                                                                                                       0      AntitrustfTrade regulation (03)
                                                                                                              Construction defect (10)
               Other PUPDIUVD (Personal Injury/Property
               DamagefWrongful Death) Tort                         Insurance coverage (18)             0      Mass tort (40)
               0     Asbestos (04)                          0      Other (wntract (37)                 0      Securities litigation (28)
               0     Product liability (24)                 Real Property                                     EnvironmentaUToxic tort (30)
                   Q       Medical malpractice (45)                                Eminent domainllnverse                0      Insurance coverage claims arising from the
                                                                                   condemnation (14)                            above listed provisionally compiex case
                   ~    Other PI/PD/WD (23)                                                                                     types (41)
                                                                           ~       Wrongful eviction (33)
                   Non-PI/PDlVIID (Other) Tort
                                                                                   Other real property (26)              Enforcement of Judgment
                   ~    Business tort/unfair business practice (07)        ~
                                                                           Unlawful Detainer                             0     Enforcement of judgment (20)
                   ~    Civil rights (08)
                   ~    Defamation (13)                                    ~    Commercial (31)                          Miscellaneous Civil Complaint
                   ~       Fraud (16)                                      0    Residential (32)                         Q    RICO (27)

                   0       Intellectual property (19)                      ~     Drugs (38)                                      Other complaint (not specified above) (42)
                   0       Professional negligence (25)                    Judicial Review                               Miscellaneous Civil Petition
                           Other non-PI/PDNJD tort (35)                    =     Asset forfeiture (05)                   0    Partnership and corporate governance (21)
                   ~
                   Em loyment                                              ~       Petition re: arbitration award (11)   0     Other petition (not specified above) (43)
                   ~    Wrongful termination (36)                                  Writ of mandate (02)
                                                                                   Other judicial review (39)
                   Q    Other employment (15)
                                                                                                                                               mark the
             2. This case      _ is             is not     comDlex under ruie 3.400 of the Califomia Rules of Court. If the case is comDlex,
                factors requiring exceptiona  l  judicial manageme  nt:
                a. []    Large number of separateiy represented parties           d.      Large number of witnesses

                b. []    Extensive motion practice raising difficuit   or novel   e.      Coordination with reiated actions pending in one or more courts
                         issues that will be time-consuming to resoive                    in other counties, states, or countries, or in a federal court
                c.        Substantial amount of documentary evidence              f.      Substantial postjudgment judicial supervision

                                                                                        nonmonetary; deciaratory or injunctive reiief                                   C. 0       punitive
              3. Remedies sought (check al/ that apply): a.~] monetary b. =
              4. Number of causes of action (specify): ONE
              5. This case =       is   ®     is not  a ciass action suit.
              6. If there are any known related  cases, fiie and serve a notice of reiated case. (You may use form CM-015.)

              Date: 12/ 16/2021
                                                                                                                                               OR


                                                                                                                 (except small ciaims cases or cases fiied
                  • Plaintiff must fiie this cover sheet with the first paper ffied in the action or proceeding
                                                         Code, or  Welfare  and  Institutions Code).  (Cal. Rules of Court, ruie 3.220.) Failure to fiie may resuit
                      under the Probate Code, Family
                      in sanctions.
                                                                                                      ruie.
                   • File this cover sheet in addition to any cover sheet required by local court
                                                     ruie 3.400 et seq.  of the California Rules  of Court, you must serve a copy of this cover sheet on all
                   • If this case is compiex under
                      other parties to the action or proceeding.
                                                                                                 this cover sheet will be used for statistical purposes only.
                    • Unless this is a collections case under ruie 3.740 or a compiex case,                                                                Paqe 1 of 2
                                                                                                                                       Cal. Rules of Court, rules 2.30, 3.220, 3.400-3.403. 3.740;
                 Form Adopted for Mandalory Use                                CIVIL CASE COVER SHEET                                          Cal. Standards of Judicial Administration, std. 3.10
                   Judidal Councll of Californla                                                                                                                             www.courtin/o.ca.gov
                    CM-010 tRev. July 1, 2007J                                                                                                                           Amcrl.~~n 1 nn~~nf>I Inr
              Case 2:22-cv-03595 Document 1-1 Filed 05/25/22 Page 5 of 24 Page ID #:18
                                                                                                                                                          CM-010
   '                                   INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
                                                                                                             exampie, a compiaint) in a civil case, you must
To Plaintiffs and Others Fiiing First Papers. If you are filing a first paper (for
                                                           Clvil  Case      Cover   Sheet    contained     on  page 1. This information will be used to compile
complete and fiie, along with your first paper, the
           about  the  types   and   numbers     of cases  fiied.  You     must   complete      items   1  through    6 on the sheet. In item 1, you must check
statistics
                                                                      If the   case   fits both   a general    and  a  more specific type of case listed in item 1,
one box for the case type that best describes the case.
                                                                                                                     best indicates the primary cause of action.
check the more specific one. If the case has muitiple causes of action, check the box that
                                                                     cases     that belong     under   each    case   type in item 1 are provided below. A cover
To assist you in completing the sheet, examples of the
             be  filed  only with   your initial paper.  Failure    to  fiie  a cover    sheet   with  the  first paper   filed in a civil case may subject a party,
sheet must
its counsel, or both to sanctions under rules 2.30 and 3.220 of the                 Califomia     Rules   of Court.
                                                                                                                                               for recovery of money
To Parties in Rule 3.740 Collections Cases. A"collections case" under rule 3.740 is defined as an action from a transaction in
                                                                                                  of interest   and  attorney's   fees,  arising
owed in a sum stated to be certain that is not         more    than    $25,000,     exclusive
                                                                                                                            an action seeking the following: (1) tort
which property, services, or money was acquired on credit. A collections case does not inciude
                                                           of   real    property,     (4)   recovery     of  personal    property,    or (5) a prejudgment writ of
damages, (2) punitive damages, (3) recovery
                                                                                                                            that it will be exempt from the general
attachment. The identification of a case as a rule 3.740 collections case on this form means
                                                               nt  ruies,    unless    a   defendant    fiies  a  responsive     pleading.    A rule 3.740 collections
time-for-service requirements and case manageme
case will be  subject   to the  requiremen    ts for service  and    obtaining    a  judgment      in rule  3.740.
                                                                                                                                            to designate whether the
 To Parties in Complex Cases. In compiex cases only, parties must aiso use the Civil Case Cover Sheet
                                                                                                                         Rules   of Court,  this must be indicated by
 case is complex. If a piaintiff believes the case is complex under rule 3.400 of the Califomia
                                                            2. If a  plaintiff   designates     a  case   as  complex,    the  cover   sheet  must be served with the
 completing the appropriate boxes in items 1 and
                     parties  to  the  action.   A  defendant    may     file  and  serve     no  later  than   the  time   of its first appearance a joinder in the
 complaint on   all
                                                                                                                     has made no designation, a designation that
 plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff
 the case is complex.                                             CASE TYPES AND EXAMPLES
                                                         Contract                                                  Provisionally Complex Civil Lltigation (Cal.
 Auto Tort                                                                                                         Rules of Court Rules 3.400-3.403)
     Auto (22)-Personal Injury/Property                     Breach of Contract/Warranty (06)
                                                                Breach of Rental/Lease                                  Antitrust/Trade Regulation (03)
         DamagelWrongful Death                                                                                          Construction Defect (10)
                                                                    Contract (not unlawful detainer
     Uninsured Motorist (46) (if the                                       or wrongful eviction)                        Claims Involving Mass Tort (40)
         case lnvolves an uninsured                              Contract/Warranty Breach-Seller                        Securities Litigation (28)
         motorist claim subject to                                                                                      Environmental/Toxic Tort (30)
         arbitration, check this item
                                                                      Plaintiff (not fraud or negligence)
                                                                 Negligent Breach of Contract/                          Insurance Coverage Claims
         instead ofAuto)                                                                                                     (arisfng from provisionally complex
                                                                      Warranty
 Other PI/PDIWD (Personal Injuryl                                Other Breach of Contract/Warranty                           case type listed above) (41)
 Property DamagelWrongful Death)                             Collections (e.g., money owed, open.                    Enforcement of Judgment
 Tort                                                            book accounts) (09)                                    Enforcement of Judgment (20)
      Asbestos (04)                                              Collection Case-Sel[er Plaintiff                            Abstract of Judgment (Out of
         Asbestos Property Damage                                Other Promissory Note/Collections
                                                                                                                                  County)
          Asbestos Personal Injury/                                   Case                                                   Confession of Judgment (non-
               Wrongful Death                                Insurance Coverage (not provisionafly                                 domestic re/ations)
      Product Liability (not asbestos or                          complex) (18)                                              Sister State Judgment
            toxic%nvfronmenfal) (24)                              Auto Subrogation                                           Administrative Agency Award
     Medical Maipractice (45)                                     Other Coverage                                                 (not unpaid taxes)
         Medical Malpractice-                                                                                                Petition/Certification of Entry of
               Physicians & Surgeons                         Other Contract (37)                                                 Judgment on Unpaid Taxes
          Other Professional Health Care                          Contractual Fraud                                           Other Enforcement of Judgment
               Ma[practice                                        Other Contract Dispute                                          Case
                                                          Real Property
     Other PUPDIWD (23)                                                                                               Miscellaneous Civil Complaint
          Premises Liability (e.g., slip                      Eminent Domain/Inverse                                     RICO (27)
                                                                  Condemnation (14)
               and fall)                                                                                                 Other Complaint (not specified
          Intentional Bodily Injury/PD/WD                     Wrongful Eviction (33)                                          above) (42)
                (e.g., assault, vandaiism)                    Other Rea[ Property (e.g., quiet title) (26)                    Declaratory Relief Only
          Intentional Infliction of                               Writ of Possession of Real Property                         Injunctive Relief Only (non-
                Emotional Distress                                Mortgage Foreclosure                                              harassmenf)
          Negligent Infliction of                                  Quiet Title                                                 Mechanics Lien
                Emotional Distress                                Other Real Property (not eminent                             Other Commercial Complaint
           Other PI/PD/WD                                          domain, ►andlord/tenant. or                                     Case (non-torUnon-complex)
  Non-PI/PD/WD (Other) Tort                                        foreclosure)                                                Other Civil Complaint
      Business Tort/Unfair Business                       Unlawfui Detainer                                                        (non-tort/non-complex)
         Practice (07)                                        Commercia[ (31)                                         Miscellaneous Civil Petition
      Civil Rights (e.g., discrimination,                     Residential (32)                                           Partnership and Corporate
          false arrest) (not civil                            Drugs (38) (if the case Involves illegaf                        Governance (21)
           harassment) (08)                                         drugs, check this item; otherwise,                   Other Petition (not specified
      Defamation (e.g., slander, libel)                             report as Commercial or Residential)                      above) (43)
            (13)                                           Judiciai Review                                                    Civil Harassment
      Fraud (16)                                              Asset Forfeiture (05)                                           Workplace Violence
      Intelleclual Property (19)                              Petition Re: Arbitration Award (11)                             Elder/Dependent Adult
      Professional Negligence (25)                            Writ of Mandate (02)                                                 Abuse
          Legal Malpractice                                        Writ-Administrative Mandamus                               Election Contest
           Other Professional Malpractice                          Writ-Mandamus on Limited Court                             Petition for Name Change
                 (not medicaf or legal)                                Case Matter                                            Petition for Relief From Late
      Other Non-PI/PD/WD Tort (35)                                  Writ-Other Limited Court Case                                   Claim
   Employment                                                          Review                                                 Other Civil Petition
      Wrongful Termination (36)                                Other Judicial Review (39)
      Other Employment (15)                                         Review of Health Officer Order
                                                                    Notice of Appeal-Labor
                                                                       Commissioner Appeals                                                                        or 2
                                                                                                                                                               Pege 2
   CM-010 [Rev. July 1, 2007]                                   CIVIL CASE COVER SHEET
                Case 2:22-cv-03595 Document 1-1 Filed 05/25/22 Page 6 of 24 Page ID #:19

                                                                                                        T   ~A~                      •
SHORT TITLE:
               Gerald Castaneda v Delt~1 Air Lines et al

                             CIVIL CASE COVER SHEET ADDENDUM AND
                                     STATEMENT OF LOCATION
               (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)
                                                                                                         Angeles Superior Court.
               This form is required pursuant to Local Rule 2.3 in all new civii case fiiings in the Los




     Step 1: After completing the Civil Case Cover Sheet (ludicial Council form CM-010), find the exact case type in
             Column A that corresponds to the case type indicated in the Civil Case Cover Sheet.


     Step 2: In Column B, check the box for the type of action that best describes the nature of the case.

     Step 3: in Column C, circle the number which explains the reason for the court filing location you have
                   chosen.

                                            Applicable Reasons for Choosing Court Filing Location (Column C)

                                                                                            7. Location where petitioner resides.
1. Class actions must be fifed in the Stanley Mosk Courthouse, Central District.
                                                                                             8. Location wherein defendantlrespondentfunctions wholly.
2. Permissive filing in central district.
                                                                                             9. Location where one or more of the parties reside.
3. Location where cause of action arose.
                                                                                            10.Location of Labor Commissioner Office.
4. Mandatory personal injury fifing in North District.
                                                                                            11. Mandatory fifing location (Hub Cases— unlawful detainer, limited
5. Location where performance required or defendant resides.                                non-collection, limited collection, or personal injury).

6. Location of property or permanently garaged vehicle.



                                                         .-          .                  ,                         ..                --
                                                                                                                            :
                         _         A:         _.                                                                                     ~
                                                         '                                   Type of Action                     =    ",             Applicable Reasons
                     :Civjl Case:Cover She,et .                                                                                                      See Step 3 Above -
                            Gategory No. '_                                                 (Check oniy one) _


                                                              A7100 Motor Vehicle - Personal Injury/Property DamageNVrongful Death                  1, 4, 11
                                Auto (22)            ❑
     0
    ~ o                                                                                                                                             1, 4, 11
    Q F'-             Uninsured Motorist (46)        ❑        A7110 Personal Injury/Property DamageMlrongful Death — Uninsured Motorist


                                                     ❑        A6070 Asbestos Property Damage                                                        1, 11
                              Asbestos (04)                                                                                                         1, 11
                                                     ❑        A7221 Asbestos- Personal InjuryJV1lrongful Death
        1=
     n. I—~                                                                                                                                         1, 4, 11
                        Product Liability (24)       ❑        A7260 Product Liability (not asbestos or toxic/environmental)
     a` s"eo
     ~ w                                                                                                                                            1, 4, 11
     Zo                                              ❑        A7210 Medical Malpractice - Physicians & Surgeons
           ~          Medical Malpractice (45)                                                                                                      1, 4, 11
     c                                               ❑        A7240 Other Professional Health Care Malpractice
     Ta
     ~     ~
           o
     o     ~                                                                                                                                        1, 4, 11
     ~w    ~                                         ❑        A7250 Premises Liability (e-g., slip and fall)
      a►                      Other Personal
     n. C"
        C0                                            ❑       A7230 Intentional Bodily Injury/Property Damage/Wrongful Death (e.g.,                 1, 4, 11
      a`r E                   Injury Property                       assault, vandalism, etc.)
                             Damage Wrongful                                                                                                         1, 4, 11
     ~ Gm                       Death23()                ❑    A7270 Intentional Infliction of Emotional Distress
                                                                                                                                                     1, 4, 11
                                                     ~         A7220 Other Personal Injury/Property Damage/Wrongful Death




                                                                                                                                               Local Rule 2.3
                                                     CIVIL CASE COVER SHEET ADDENDUM
     LASC CIV 109 Rev. 12118                                                                                                                     Page 1 of 4
                                                        AND STATEMENT OF LOCATION
     For Mandatory Use
              Case 2:22-cv-03595 Document 1-1 Filed 05/25/22 Page 7 of 24 Page ID #:20

SHORTTITLE:                                                                                    T 7A~~
              Gerald Castaneda v Delta Air Lines et al
                              A                            ,                          a B                                               C.Applicable :
              ,     Civil Case Cover Sfieef                ,       k.               Type of.Action    .                              Reaso.ns - See Step 3
                         Cate9orY,No.                                             (Clieck only one)   :                                         Above
                                  :                                        h

                      Business Tort (07)           ❑ A6029 Other Commercial/Business Tort (not fraud/breach of contract)             1, 2, 3


                        Civil Rights (08)          ❑ A6005 Civil Rights/Discrimination                                               1, 2, 3


                        Defamation (13)            ❑ A6010 Defamation (slanderllibel)                                                1, 2, 3


                           Fraud (16)              ❑ A6013 Fraud (no contract)                                                       1, 2, 3


                                                   ❑ A6017 Legal Malpractice                                                          1, 2, 3
                  Professional Negligence (25)
                                                   ❑ A6050 Other Professional Malpractice (not medical or legal)                      1, 2, 3


                           Other (35)              ❑ A6025 Other Non-Personal Injury/Property Damage tort                             1, 2, 3


                   Wrongful Termination (36)       ❑ A6037 Wrongful Tennination                                                       1, 2, 3
     15
     d
     8
     a                                             ❑ A6024 Other Employment Complaint Case                                            1, 2, 3
     0
    c.               Other Employment (15)
    ~                                              ❑ A6109 Labor Commissioner Appeals                                                 10
     w

                                                   ❑ A6004 Breach of Rental/Lease Contract (not unlawful detainer or wrongful         2. 5
                                                           eviction)
                  Breach of ContracU Warranty                                                                                         2.5
                              (06)                 ❑ A6008 ContractlWarranty Breach -Seller Plaintiff (no fraud/negligence)
                                                                                                                                      1, 2, 5
                        (not insurance)            ❑ A6019 Negligent Breach of Contract/Warranty (no fraud)
                                                                                                                                      1' 2' 5
                                                   ❑ A6028 Other Breach of ContractlWarranty (not fraud or negligence)

                                                   ❑ A6002 Collections Case-Seller Plaintiff                                          5, 6, 11
                         Collections (09)                                                                                             5,11
                                                   ❑ A6012 Other Promissory NotelCollections Case
                                                   ❑ A6034 Collections Case-Purchased Debt (Charged Off Consumer Debt                 5, fi, 11
                                                           Purchased on or after January 1 2014

                                                    ❑ A6015 Insurance Coverage (not complex)                                           1, 2, 5, 8
                    Insurance Coverage (18)

                                                    ❑ A6009 Contractual Fraud                                                          1, 2, 3, 5

                                                    ❑ A6031 Tortious Interference                                                      1, 2, 3, 5
                       Other Contract (37)
                                                    ❑ A6027 Other Contract Dispute(not breachfinsurancelfraud/negligence)              1,2, 3, 8, 9


                     Eminent Domain/Inverse         ❑ A7300 Eminent Domain/Condemnation               Number of parcels                2,6
                       Condemnation (14)

                      Wrongful Eviction (33)        ❑ A6023 Wrongful Eviction Case                                                     2,6


                                                    ❑ A6018 Mortgage Foreclosure                                                       2,6

                                                    ❑ A6032 Quiet Title                                                                2.6
                     Other Real Property (26)
                                                    ❑ A6060 Other Real Property (not eminent domain, landlord/tenant, foreclosure)     2.6

                   Unlawful Detainer-Commercial     ❑ A6021 Unlawful Detainer-Commercial (not drugs or wrongful eviction)              6.11
                               (31)
                   Unlawful Detainer-Residential    ❑ A6020 Unlawful Detainer-Residential (not drugs or wrongful eviction)             6,11
                                 32
                        Unlawful Detainer-          ❑ A6020F Unlawful Detainer-Post-Forecfosure                                         2, 6, 11
                       Post-Foreclosure 34
                                                                                                                                        2, 6, 11
                    Unlawful Detainer-Drugs (38)     ❑ A6022 Unlawful Detainer-Drugs



                                                   CIVIL CASE COVER SHEET ADDENDUM                                                   Local Rule 2.3
    t.ASC CIV 109 Rev. 12/18                                                                                                            Page 2 of 4
                                                      AND STATEMENT OF LOCATION
   For Mandatory Use
               Case 2:22-cv-03595 Document 1-1 Filed 05/25/22 Page 8 of 24 Page ID #:21

SHORT TITLE:                                                                                                                   CASE NUMBER

               Gerald Castaneda v Delta Air Lines et al
                                                                                                                                                                   C. APPlicable
                 `. . Civil Case CoverSheet:.            :                 .    ,                             Type of Actian                                   ~Reasons -: See Step 3.
                                         :.. '                                      ,-_ .•
                                                                                                             {Check only:one} .: .
                                                                                                                              ~t:~''; ..   '
                            Category No;       :;....   . :                                  ,:;. .: :': .                                     ¢.•       : .          "Above
               .. . .                                                                                                                                -

                     Asset Forfeiture (05)                   ❑       A6108 Asset Forfeiture Case                                                                2, 3, 6


                  Petition re Arbitration (11)               ❑       A6115 Petition to Compel/ConfirmNacate Arbitration                                         2.5
     3
     m
    .~
     d                                                       ❑       A6151 Writ - Adrninistrative Mandamus                                                      2,8
    o:
    ~
    .~               Writ of Mandate (02)                    ❑       A6152 Writ - Mandamus on Limited Court Case Matter                                         2
    'v
     ~                                                       ❑       A6153 Writ - Other Limited Court Case Review                                               2
    ~

                  Other Judicial Review (39)                 ❑       A6150 Other Writ /Judicial Review                                                          2,8


               Antitrust/Trade Regulation (03)               ❑       A6003 AntitrustfTrade Regulation                                                           1, 2, 8


                   Construction Defect (10)                  ❑       A6007 Construction Defect                                                                  1, 2, 3

                  Claims Involving Mass Tort                                                                                                                    1, 2, 8
                                                             ❑       A6006 Claims Involving Mass Tort
                             (40)

                   Securities Litigation (28)                ❑       A6035 Securities Litigation Case                                                           1, 2, 8

                           Toxic Tort                                                                                                                           1, 2, 3, 8
                                                             ❑       A6036 Toxic Tort/Environmental
                       Environmental (30)

                 Insurance Coverage Claims                                                                                                                      1, 2, 5, 8
                                                             ❑       A6014 Insurance Coverage/Subrogation (complex case only)
                   from Compiex Case (41)

                                                             ❑       A6141 Sister State Judgment                                                                2, 5, 11

                                                             ❑       A6160 Abstract of Judgment                                                                 2,15

                                                             ❑       A6107 Confession of Judgment (non-domestic relations)                                      2,9
                           Enforcement
                         of Judgment (20)                    ❑       A6140 Administrative Agency Award (not unpaid taxes)                                       2,8

                                                             ❑       A6114 Petition/Certificate for Entry of Judgment on Unpaid Tax                              2,8

                                                                 ❑   A6112 Other Enforcement of Judgment Case                                                    2: 8: 9


                             RICO (27)                           ❑   A6033 Racketeering (RICO) Case                                                              1, 2, 8


                                                                 ❑   A6030 Declaratory Relief Only                                                               1, 2, 8

                                                                 ❑   A6040 Injunctive Relief Only (not domestic/harassment)                                      2,8
                       Other Complaints
                   (Not Specified Above) (42)                    ❑   A6011 Other Commercial Complaint Case (non-tort/non-complex)                                1, 2, 8

                                                                 ❑   A6000 Other Civil Complaint (non-torUnon-complex)                                           1, 2, 8


                     Partnership Corporation                                                                                                                     2.8
                                                                 ❑   A6113 Partnership and Corporate Govemance Case
                        Govemance (21)

                                                                 ❑    A6121 Civil Harassment With Damages                                                        2: 3: 9

                                                                 ❑    A6123 Workplace Harassment With Damages                                                    2, 3, 9

                                                                 ❑    A6124 ElderlDependent Adult Abuse Case With Damages                                        2, 3, 9
                        Other Petitions (Not
                       Specified Above) (43)                     ❑    A6190 Election Contest                                                                     2

    2 V                                                          ❑    A6110 Petition for Change of Name/Change of Gender                                            2, 7
                                                                 ❑    A6170 Petition for Relief frorn Late Claim Law                                                2, 3 , 8

                                                                 ❑    A6100 Other Civil Petition                                                                    2,9




                                                             CIVIL CASE COVER SHEET ADDENDUM                                                                   Local Rule 2.3
   LASC CIV 109 Rev. 12/18
                                                                AND STATEMENT OF LOCATION                                                                           Page 3 of 4
   For Mandatory Use
                Case 2:22-cv-03595 Document 1-1 Filed 05/25/22 Page 9 of 24 Page ID #:22

 SHORTTITLE:                                                                            CASE NUMBER

               Gerald Castaneda v Delta Air Lines et al

Step 4: Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column C for the
             type of action that you have selected. Enter the address which is the basis for the filing location, including zip code.
             (No address required for class action cases).

                                                                     ADDRESS:
   REasoN:                                                            9433 Myron Street,
    I_11.!L-*;2.L13.U4.LI5. ❑ 6.ul7. C8.[:.l 9.i-i10.X11.



   CITY:                                     STATE:     ZIP CODE:


   Pico Rivera                               CA          90660

Step 5: Certification of Assignment: I certify that this case is properly filed in the Stanle,y Mosk                               District of
              the Superior Court of California, County of Los Angeles [Code Civ. Proc., §392 et seq., and Local Rule 2.3(a)(1)(E)].




  Dated: 12/ 16/2021
                                                                                     (SIGNATURE OF ATTORNEYIFV ING PARTY)




  PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
  COMMENCE YOUR NEW COURT CASE:

       1. Original Complaint or Petition.

       2. If filing a Complaint, a completed Summons form for issuance by the Clerk.

           3. Civil Case Cover Sheet, Judicial Council form CM-010.

           4. Civil Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04 (Rev.
              02/16).

           5. Payment in full of the filing fee, unless there is court order forwaiver, partial or scheduled payments.

           6. A signed order appointing the Guardian ad Litem, Judicial Councii form CIV-010, if the plaintiff or petitioner is a
              minor under 18 years of age will be required by Court in order to issue a summons.

           7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
              must be served along with the summons and complaint, or other initiating pleading in the case.




                                             CIVIL CASE COVER SHEET ADDENDUM                                             Local Rule 2.3
   LASC CIV 109 Rev. 12/18
                                                AND STATEMENT OF LOCATION                                                   Page 4 of 4
   For Mandatory Use
                    Case 2:22-cv-03595 Document 1-1 Filed 05/25/22 Page 10 of 24 Page ID #:23
                                                                                    21STCV46557
                                     Assiqned for all purposes to: Spring Street Courthouse Judicial Officer: Michael Whitaker
Electronically FI   D by Superior Court of California, County of Los Angeles on 12/21/2021 05:06 PM Sherri R. Carter, Executive Officer/Clerk of Court, by N. Miramontes,Deputy




                    Kaitlyn Daley Corbett, STA`rE BAR No. 305223
                    DIXON & DALEY, LLP
                    10330 PIONEER BLVD., SUITE 210
                    SANTA FE SPRINGS, CALIFORNIA 90670
             2      PHONE (562) 946-3737
                    FAX (562) 946-3779
             3
                    Attorney for Plaintiff, Gerald Castaneda
             4

             5

             6

             7                                       SUPERIOR COURT OF THE STATE OF CALIFORNIA

             8                                                    FOR THE COUNTY OF LOS ANGELES

             9
                                                                                                    CaseNo.:           21 sTCV46!5!57
           10       GERALD CASTANEDA,
                                                                                                        COMPLAINT FOR DAMAGES
           11                              Plaintiff,
                                                                                                             (Negligence)
           12                   vs.
                                                                                                             (Personal Injury)
           13
                    DELTA AIR LINES; DOES I through XX                                                       (Property Damage)
           14       inclusive; DOE Companies I through XX,
           15       inclusive; and DOE Corporations I through XX,
                    inclusive,
           16

           17                              Defendants.

           18

           19

           20                              FOR A FIRST CAUSE OF ACTION AGAINST DEFENDANTS, AND EACH OF

           21       THEM, PLAINTIFF, GERALD CASTANEDA ALLEGES:

           22                               I.         The allegations of this complaint stated on information and belief have

           23       evidentiary support or are likely to have evidentiary support after a reasonable opportunity for further

           24        investigation or discovery.

           25                              2.          That the true names and capacities, whether individual, corporate, associate or

           26        otherwise of each of the defendants designated herein as a DOE are unknown to plaintiff at this time,

           27       who therefore sues said defendants by fictitious names, and will ask leave of court for permission to

           28        amend this complaint to show their names and capacities when the same have been ascertained.
                                                                      1

                                                                           COMPLAINT FOR DAMAGES
     Case 2:22-cv-03595 Document 1-1 Filed 05/25/22 Page 11 of 24 Page ID #:24




                                                                                                     a DOE is I
2 I Plaintiff is informed and believes and thereon alleges that each of the defendants designated as
                                                                                                    injuries I
3 I legally responsible in some manner for the events and happenings herein referred to, and caused

4 I and damages thereby to the plaintiff as herein alleged.

5                   3.      That plaintiff is infonned and believes and thereon alleges that at all times herein I
                                                                                                       are
61I mentioned, the defendant corporations, either specifically or fictitiously named, were and now

 7   corporations, existing under and by virtue of the laws of the State of California, or were or now are

 8   foreign corporations licensed to do business in the State of California, or are foreign corporations, doing

 9   business in the State of California, County of Los Angeles, among other counties.

10                  4.      The defendants, and each of them, at all times herein mentioned, supervised,

11   maintained, owned, and controlled the aircraft involved in the subject incident.

12                  5.      Plaintiff is informed and believes and thereon alleges that at all times herein

13   mentioned, each of the defendants was acting as the agent, servant and employee or each of the other

14   defendants, and within the scope of said agency and employment.

15                  6.      That the time and place of the incident in question, defendants, and each of them,

16   their agents, servants and employees became liable to plaintiff for one or more of the reasons described

17   in this complaint herein, and thereby proximately caused plaintiff to sustain damages as herein set forth.

18                  7.      That at the time and place of the incident in question, defendants, and each of

19   them, including all fictitiously named defendants, herein, maintained, supervised, operated, attended to,

20   cared for, and had under their jurisdiction and control the aircraft involved in the subject incident.

21                  8.      That the information pertinent to this cause of action is as follows:

22                          (a)     Place of accident: 9433 Myron Street, Pico Rivera, CA 90660

23                          (b)     Date of accident: January 14, 2020

24                  9.      That on or about January 14, 2020 defendant initiated a 15,000 gallon fuel dump

25   while the subject aircraft was traveling at a low altitude, and over a populated area, proximately causing

26   plaintiff to come in contact with jet fuel, and sustain severe and lasting personal injuries and damages as

27   more particularly hereinafter set forth. That at the time and place of the incident in question and prior

28   thereto, defendants, and each of them, including all fictitiously named defendants, herein, engaged in
                                                          2

                                          COMPLAINT FOR DAMAGES
     Case 2:22-cv-03595 Document 1-1 Filed 05/25/22 Page 12 of 24 Page ID #:25




     negligent hiring, supervision, training and/or retention. That the time and place of the incident in

2    question, and prior thereto, defendants, and each of them, including all fictitiously named defendants

     herein, were careless, reckless and negligent, in that they maintained, supervised, operated, attended to,

4    cared for, controlled, designed, constructed, built, planned, installed, inspected, performed work on

     and/or tested for safety the hereinabove described aircraft, and initiated a fuel dump at low altitude over

     a densely populated area, knowing that there was substantial risk of harm to persons on the ground.

 7                    10.   That the time and place of the incident in question, and prior thereto, defendants,

 8   and each of them, including all fictitiously named defendants herein, were careless, reckless and

 9   negligent, in that they maintained, supervised, operated, attended to, cared for, controlled, designed,

10   constructed, built, planned, installed, inspected, performed work on and/or tested for safety the

11   hereinabove described aircraft; and defendants, and each of them, knew or should have known that to

12   cause and initiate a fuel dump as set forth herein, was hazardous and dangerous to persons on the grol

13   in the area of the fuel dump.

14                    11.   That as a direct and proximate result of the aircraft fuel dump and of the matters

15   herein alleged, and of the acts done by defendants, and each of them, as herein alleged, plaintiff was

16   injured in plaintiff's health, strength and activity, and suffered severe and lasting injuries, all to

17   plaintiff's damage for an amount within the jurisdiction of this Court.

18                    12.    As a direct and proximate result of the aircraft fuel dump and of the matters

19   herein alleged, and of the acts done by defendants, and each of them, as aforesaid, plaintiff was required

20   to and did obtain medical care and attention, the total amount of which is unknown to plaintiff at this

21   time; that plaintiff is informed and believes and thereon alleges that plaintiff will be required to obtain

22   medical care and attention in the future, the amount not now known to plaintiff; that when plaintiff

23   ascertains the total amount of inedical care and attention required, and which will be required in the

24   future, plaintiff will ask leave of this Court for permission to amend this complaint by setting forth such

25   total amounts.

26                    13.    That as a further, direct and proximate result of the aircraft fuel dump and of the

27   matters herein alleged, and the acts done by defendants, and each of them, plaintiff has been unable to

28   follow plaintiffls usual, or any, occupation for a period of time not now known to plaintiff and has
                                                           3

                                           COMPLAINT FOR DAMAGES
      Case 2:22-cv-03595 Document 1-1 Filed 05/25/22 Page 13 of 24 Page ID #:26




      thereby been damaged in loss of earnings and earning capacity in an ainount not yet ascertained; that

 2    when plaintiff ascertains the total period of time in which plaintiff will have been unable to follow

 3    plaintiff's usual, or any, occupation by reason of said incident herein, plaintiff will ask leave of this

 4    Court for permission to amend this complaint by setting forth such total amounts.

 5                   WHEREFORE, plaintiff prays judgment against defendants, and each of them, as

 6    follows:

 7                    1.      For general damages as proved;

 8                   2.       For medical expenses as proved;

 9                    3.      For loss of earnings and earning capacity as may be proved;

10                    4.      For property darnage as proved;

11                    5.      For costs of suit herein incurred; and

12                    6.      For such other and further relief as to the Court may seem just.

13
14    Dated: 12/16/2021                                      DIXON DALEY LLP

15
                                                             By: ~
16                                                            Kaitlyn Daley C rbett
                                                              Attorney for Plaintiff
'17

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                                            COMPLAINT FOR DAMAGES
      Case 2:22-cv-03595 Document 1-1 Filed 05/25/22 Page 14 of 24 Page ID #:27

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PLAINTIFF/PETITIONER:                                                                  a~   ~
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Gerald Castaneda
DEFENDANT/RESPONDENT:
Deita Air Lines                                                                      CASE NUMBER:
                                                                                      21STCV46557
                         CERTIFICATE OF MAILING
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  prepaid, in accordance wit




      Kaitlyn Daley Corbett     210
      10330 Pioneer Bivd.,Suite 70
      Santa Fe Springs, CA 906




                                                                                             Officer ! Clerk of Court
                                                                 Sherri R. Carter, Executive
                                                                 By:    A. Munoz
     Dated: 03/23/2022                                                   eputy Cierk




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                                                 CERTIFICATE OF MA
             Case 2:22-cv-03595 Document 1-1 Filed 05/25/22 Page 15 of 24 Page ID #:28

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                                      FOR THE COUN'I`Y OF LOS
5
6                                                          ) CASfi NO.: 27 STCV46557
         ITV RE PERSONAL INJURY
                                    EDURES,
7        COURT ("PI COURT") PROC                                                   RSONAL
                                                           ) STANDING ORDER RE; PE RAL -
8        CENTRAL DISTRICT                                  ) INJURY PROCEDURES, CE
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                                 1$)
         (EFFECTIVE APRIL 16, 20                           ) DISTRICT
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15                          ~        • DATE:
16                                                         TRIAL:
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                                                                E CIV. PROC., & 583.210):
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                                                           Page I of 8
                                                                                            strict
                                                               Injury Procedures, Central Di
                                  Standing Order Re Personal
        Case 2:22-cv-03595 Document 1-1 Filed 05/25/22 Page 16 of 24 Page ID #:29

                                                                                                       2o18-SJ-oo7-


                                                                                                                 the Civil
                         pro  per   ass ign  me   nt to  a  PI  Co  urt , Pla intiff(s) must carefutly fill out
1 1.      To ensure
                                                                                               "personal injury" as:
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3i        "an unl
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13           real pro
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 14          Consistent with Loc
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 15 plaintiff(s) che                                                                                                l Death
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 16                          A7
                                                                                                                  ured
                                                                             Darnage/Wrongful Death — Unins
 17                          A7110 Personal Injury/Property

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 19                             A7260 Product Liability (not asbesto
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                                A7210 Medical Malpractice — Phy
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                                                                     and fall)
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  23                            A7230 Intentional Bodily Injury/P

   24
                           assault, vandalism etc.)
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   28     ' ll!

                                                                Page Z of 8

                                                                         ry Procedures, Central District
                                Standing Order Re Personal Inju
     Case 2:22-cv-03595 Document 1-1 Filed 05/25/22 Page 17 of 24 Page ID #:30


                                                                                         2018-SJ-0D7-OC


 1          The Court sets the above dates in this action in the PI Court circled above (Department
 2   2, 3, 4, 5, or 7) at the 5pring Street Courthouse, 312 North Spring Street, Los Angeles, CA 90012.
 3   (C.R.C. Rules 3.714(b)(3), 3.729.)
 4   FILING OF DOCUMENTS
 5   2.      Parties may file documents in person at the filing window on the first floor of the Stanley
 6   Mosk Courthouse (111 N. Hill Street, Los Angeles, CA 90012) orby U.S. Mail or e-Delivery,.
 7   which is available online at mmulacoterr.ore (link on homepage). Please note that filings are no
 8   longer accepted via facsimile and must be filed either in person, via U.S. mail or via e-Delivery.
 9   Claims involving an attomey-client fee dispute, documents in which the filing party is a minor,
10   legally incompetent person, or person for whom a conservator has been appointed, reguests to
11 waive court fees (FW-001) and requests for accommodations by persons with disabilities (MC-
12   410), may not be filed via e-Delivery.
13   SERVICE OF SUMMONS AND COMPLAINT
14   3.      Plaintiff(s) shall serve the summons and complaint in this action upon defendant(s) as
15   soon as.possible.but. no later than three years from the date when the complaint is filed.
16   (C.C.P. § 583.2]0, subd.(a).) On the OSC re Dismissal date noted above, the PI Court will
17   dismiss the action and/or all unserved parties unless the plaintiff(s) show cause why the action
18   or the unserved parties should not be dismissed. (C.C.P. §§ 583.250; 581, subd. (b)(4).)
19 ' 4.     The Court sets the above trial and FSC dates on condition that plaintiff(s) effectuate
20   service on defendant(s) of the surnmons and complaint within six months of filing the complaint.
21   5.      The PI Court will dismiss the case without prejudice pursvant to C.C.P. § 581 when no
22   party appears for trial.
23   STIPULATIONS TO CONTINUE TRIAL
24   6.      Provided that all parties agree (and there is no violation of the "five-year rule," C.C.P.
25   § 583.310), the parties may advance or continue any trtal date in the PI Courts without showing
26   good cause or articulating any reason or justification for the change. To continue or advance a
27    trial date, the parties (orAeir counsel of record)_ should jointly execute and submit (at the filing
28   window on the first floorof the Stanley Mosk Courthouse, via U.S. mail or via e-Delivery; fee


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1    I required) a Stipulation to Continue Trial, FSC and Related Motion/Discovery Dates (fonn

 2   LACIV CTRL-242, available on the court's website, PersonaI Injury Court link). The PI Courts
 3   schedule FSCs for 10:00 a.m., eight (8) court days before the trial date. Parties seeking to
 4   continue the trial and FSC dates shali file the Stipulation at least eight court days before the FSC
 5   date. Parties seeking to advance the trial and FSC dates shall file the Stipulation at least eight
 6   court days before the proposed advanced FSC date. (C.C.P. § 595.2; Govt. Code § 70617, subd.
 7   (c)(2).) In selecting a new trial date, parties should avoid setting on any Monday, or the Tuesday
 8   following a court holiday. Parties may submit a maximum of two stipulations to continue trial,
 9   fora total continuance ofsix months. Subsequentrequests to continue trial will be granted upon
10   a showing of good cause by noticed motion. This rule is retroactive so that any previously
11   Funted stipulation to continue trial will count toward the maximum number of allowed
12   continuances.
13   NO CASE MANAGEMENT CONFERENCES
14   7.      The PI Courts do not conduct Case Management Conferences. The parties need not file
15   a Case Management:Statement.
16   LAW AND MOTION
17   8.      Any documents with declarations and/or exhibits must be tabbed. (C.R.C. Rule
18   3.1110(f).) All depositions excerpts referenced in briefs must be marked on the transcripts
19   attached as exhibits. (C.R.C. Rule 3. l 116(c).)
20   CHAMBERS COPIES REQUIRED
21   9.      In addition to filing originai motion papers at the filing window on the first floor of the
22    Stanley Mosk Courthouse, via U.S. mail or via e-Delivery, the parties must deliver, directly to
23   the PI Court courtrooms at the Spring Street. Courthouse, an extra copy (marked "Chambers
24    Copy") of reply briefs and all other motion papers filed less than seven (7) court days before a
25    hearing calendared in the PI Courts. The PI Courts also strongly encourage the paities filing and
26    opposing lengthy motions, such as motions for summary judgment/adjudication, to submit one
27   or more three-ring binders -brganizing the chambers copy behind tabs..
28   Il1


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      1    RESERVATION HEARING DATE
       2   10.     Parties are directed to reserve hearing dates for motions in the PI Courts using the Court
       3   Reservation System (CRS) available online at w►say.lacourt.arg (link on homepage). After
      4    reserving a motion hearing date, the reservation retluestor must submit the papers for filing with
      5    the reservation receipt (CRS) number printed on the face page of the document under the caption
      6    and attach the reservation receipt as the last. page. Parties or counsel who are unable to utilize
      7    the online CRS may reserve a motion hearing date by calling the PI Court courtroom, Monday-
      8    through Friday, between 3:00 p.m. and 4:00 p.m.
      9    WITHDRAWAL OF MOTIONS
     10           California Rules of Court, Rule 3.1304(b) requires a moving party to notify the court
     11 I I immediately if a matter will not be heard on the scheduled date. In keeping with that rule, the PI
     12.   Courts urge parties who amend pleadings in response to demurrers to file amended pleadings
     13 before the date when opposition to the demun•er is due so that the PI Courts do not needlessly
     14    prepare tentative rulings on demucTers.
.,   15    DISCOVERY MOTIONS
     16    12.    The purpose of an Informal Discovery Conference ("IDC") is to assist the parties to
     17 resolve and/or narrow the scope ofdiscovery disputes. Lead trial counsel on each side, or another
     18    attomey with full authority to make binding agreements, must attend in person. The PI judges
     19 have found that, in nearly every case, the parties amicably resolve disputes with the assistance
     20 of the Court.
     21    13.    Parties must participate in an IDC.before a Motion to Compel Further Responses to
     22 Discovery will be heard unless the moving party submits evidence, by way of declaration, that
     23 the opposing party has failed or refused to participate in an IDC. Scheduling or participating in
     24    an IDC does not automaticalIy extend any deadlines imposed by the Code of Civil Procedure for
     25 noticing and filing discovery motions. Ideally, the parties should participate in an 1DC before a
     26 motion is filed because the IDC may avoid the necessity of a motion or reduce its scope. Because
     27    of that possibility, attorne)~Fare encouraged to stipulate to extend the 45 (or 60) day deadline for
     28    filing a motion to compel further discovery responses in order to allow time to participate in an


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 1    I IDC.
 2              If parties do not stipulate to extend the deadlines, the moving party may file the motion
 3     to avoid it being deemed untimely. However, the IDC must take place before the rnotion- is
 4     heard so it is suggested that the moving party reserve a date for the motion hearing that is at.least
 5    60 days after the date when the IDC reservation is made. Motions to Compel Further Discovery
 6     Responses are heard at 10:00 a.m. If the IDC is not productive, the moving party may advance
 7     the hearing on a Motion to Compel Further Discovery Responses on any available hearing date
 8     that compties with the notice requirements of the Code of CiviI Procedure.
 9     14.      Parties are directed to reserve IDC dates in the PI Courts using CRS available online at
10    www.lacourt.oro (link on homepage). Parties are to meet and confer regarding the available
11.   dates in CRS prior to accessing the system. Affter reserving the IDC date; the reservation
12     requestor must file in the appropriate department and serve an Informal Discovery Conference
13     Form for Persona) Injury Courts, from LACIV 239 (revised 12/14 or later), at least 15 court days
14    prior to the conference and attach the CRS reservation receipt as the last page. The opposing
               may.file and serve a responsive IDC form, br.iefly setting forth that: party's response, at
16    least 10 court days prior to the IDC.
17    15.       Time permitting, the PI I-iub judges may be available to participate in IDCs to try to
18     resolve other types of discovery disputes.
19     EX PARTE APPLICATIONS
20    16.       Under the California Rules of Court, courts may only gant ex parte relief upon a
21    showing, by admissible evidence, that the moving party will suffer "irreparable hann,"
22 "immediate danger," or where the moving party identifies "a statutory basis for granting relief
23 ex parte." (C.R.C. Rule 3.1202(c).) The P1 Courts have no capacity to hear multiple ex parte
24     applications or to shorten time to add hearings to their fully booked rnotion calendars. The PI
25     Courts do not regard the Court's unavailability for timely motion hearings as an "immediate
26 danger" or threat of "irreparable harrn" justifying ex parte relief. Instead of seeking ex parte
27 relief, the moving party should reserve the earliest available motion hearing date (even if it is
28    after the scheduled trial date) and should file a motion to continue trial. Parties should also check


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  1      the Court Reservation System from time to time because earlier hearing dates may become
  2      available as cases settle or hearings are taken off calendar.
  3      REQUEST FOR TRANSFER TO INDEPENDENT CALENDAR DEPARTMENT -
  4     17.       Parties seeking to transfer a case from a Pl Court to an Independent Calendar ("11C")
  5     Court shall file (at the filing window on the first floor of the Stanley Mosk Courthouse, via U.S.
  6     mail or via e-Delivery) and serve the Court's "Motion to Transfer Complicated Personal Injury
  7     Case to Independent Calendar Court" (form LACIV 238, available on the Court's website under
  8            PI Courts link). The PI Courts will transfer a matter to an I/C Court if the-case is not a
  9     "Personal Injury" case as defned in this Order, or if it is "complicated:" In determining whether
10      a personal injury case is "complicated" the PI Courts will consider, among other things, the
11      number o f pretrial hearings or the complexity of issues presented.
12. 18.           Parties opposing a motion to transfer have five court days to file (at the filing window
13      on the first floor of the Stanley Mosk Courthouse, vi a U.S. mail or via e-Delivery) an Opposition
14 : (using the same LACIV 238 Motion to Transfer form).
1.5..             The=PI: Courts will not conduct a.hearing on any Motion to Transfer to 1/C Court.
16 Although the parties may stipulate to transfer a case to an Independent Calendar Department, the
17 ' PI Courts will make an independent determination whether to transfer the case or not.

18      FINAL STATUS CONFERENCE
19       20.      Parties shall comply with the requirements of the PI Courts' "First Amended Standing
20 ' OrderRe Final Status Cflnference," which shall be served with the summons and complaint.

21 ~ JURY FEES

22 21.            Parrties must pay jury fees no later than 365 calendar days after the filing of the initial
23 complaint. (C. C. P. § 631, subds. (b) and (c).)
24      JURY TRIALS
25      22.       The PI Courts do not conduct jury trials. On the trial date, a PI Court will contact the
26         ster Calendar Court, Department One, in the Stanley Mosk Courthouse. Department One
27         I assign cases out for trial to dedicated Civil Trial Courtrooms and designated Ccirninal
28 I) Courtrooms.


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  1 SANCTIONS
  2      23.       The Court has discretion to impose sanctions for any violation of this general order.
  3      (C.C.P. §§ 128.7, 187 and Gov. Code, § 68608, subd. (b).)                                         -
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                                                          ~ .Z~A~~
                                                            A                 /

  7                                                     Debre K. Weintraub
                                                        Supervising Judge of Civil Courts
  8                                                     Los AngeIes Superior Court
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                 SUPERIOR COURT OF CALIFORNIA
                    COUNTY OF LOS ANGELES
                                                                                                     FILED
Spring Street Courthouse                                                                    Suparbr f'ourt al GaGfaraua
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312 North Spring Street, Los Angeles, CA 90012
                                                                                                 12/21J2021
                   NOTICE OF CASE ASSIGNMENT                                        5-ie-riPL Gvxy,Eze.vEvaOEiow—! DercafCaccl
                                                                                     Br           h.LliramoriMs      [ P~p,t1y
                          UNLIMITED CIVIL CASE


 Your case is assigned for all purposes to the judicial officer indicated below. 121 STCV46557


                           THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

               ASSIGNED JUDGE               DEPT      ROOM                  ASSIGNED JUDGE                DEPT      ROOM
        Michael E. Whitaker                32
                                                                  ~T                                   I I




    Given to the Plaintiff/Cross-Complainant/Attorney of Record   Sherri R. Carter, Executive Officer / Clerk of Court
    on 12/22/2021                                                        By N. Miramontes                            Deputy Clerk
                 (Date)
LACIV 190 (Rev 6/18)        NOTICE OF CASE ASSIGNMENT — UNLIMITED CIVIL CASE
LASC Approved 05/06
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                                  INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

STATUSCONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
 therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
 compliance with the actual Chapter Rules is imperative.

 Class Actions
 Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
 judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
 Calendar Courtroom for all purposes.

 xProvisionally Comnlex Cases
 Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
 complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
 randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
 returned to an Independent Calendar Courtroom for all purposes.




 LACIV 190 (Rev 6/18)        NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
 LASC Approved 05/06
